United States District Court

Violation Notice

 

 

 

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YOU ARE CHARGED WITH THE FOLLOWING VIOLATION

 

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Date (minmiddyyyyl Officer's Signature

Probable cause has been stated for the mswance of a warrant

one:

 

€€-S- BLO¢/FO/90

Date (mmiidiyyyy) U.S. Magistrate Judge
